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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

STANLEY BOIM, et al.,                            )
                                                 )
               Plaintiff,                        )
                                                 )           No. 22-cv-06085
       v.                                        )
                                                 )           Judge Andrea R. Wood
AMERICAN MUSLIMS FOR                             )
PALESTINE, et al.,                               )
                                                 )
               Defendants.                       )

                                             ORDER

        Respondent Mosque Foundation’s objections to the Magistrate Judge’s Report and
Recommendation [36] are overruled. The Court adopts the Report and Recommendation (attached
as Exhibit 1 hereto) in full. All pending matters related to the motion for protective order [1] have
now been resolved. For the reasons discussed at the status hearing on 3/27/2024, the
miscellaneous civil case opened under No. 22-cv-06085 will be consolidated with the underlying
civil case, No. 17-cv-03591, for any further disputes or proceedings. This case will be
administratively closed. The Clerk is directed to docket a copy of this order, with the attached
Magistrate Judge’s Report and Recommendation [34], under Case No. 17-cv-03591. Any further
motions related to third-party discovery issued to Respondent Mosque Foundation shall be filed as
discovery motion practice in Case No. 17-cv-03591. Civil case terminated. See the accompanying
Statement for details.

                                          STATEMENT

                                                 I.

        In 1996, Plaintiffs Stanley and Joyce Boim’s son was murdered in Israel by two agents of
Hamas. Plaintiffs subsequently filed a lawsuit under the civil liability provisions of the federal
Anti-Terrorism Act, 18 U.S.C. § 2333(d)(2), (“ATA Lawsuit”) against Holy Land Foundation for
Relief and Development, the American Muslim Society, and the Islamic Association for Palestine
(“IAP”). That lawsuit culminated in a $156 million judgment. Yet Plaintiffs were unable to collect
on that judgment because the defendants in the ATA Lawsuit claimed no longer to exist.

        Years later, Plaintiffs initiated an action against Defendants American Muslims for
Palestine (“AMP”), Americans for Justice in Palestine Educational Foundation, and Rafeeq Jaber,
Boim v. American Muslims for Palestine, No. 1:17-cv-03591 (N.D. Ill.), seeking a declaration that
Defendants are alter egos of the ATA Lawsuit defendants. During discovery in that case,
Plaintiffs issued a subpoena to Respondent Mosque Foundation (“Foundation”) pursuant to
Federal Rule of Civil Procedure 45. The Foundation objected to several categories of information
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requested by the subpoena and filed the present action to quash the subpoena pursuant to Federal
Rule of Civil Procedure 45(d)(3). (Dkt. No. 1.)1 Following several meet-and-confer sessions,
Plaintiffs and the Foundation remained at an impasse regarding Plaintiffs’ request for the
Foundation’s meeting minutes and request that the Foundation run 48 search terms across various
email accounts and donor records. The Magistrate Judge issued a Report and Recommendation
recommending that this Court deny the Foundation’s motion to quash. Subsequently, the
Foundation timely filed its objections to the Report and Recommendation. Those objections have
now been fully briefed.

                                                     II.

        Through the underlying lawsuit, Plaintiffs seek to establish that Defendants are alter egos
of the ATA Lawsuit defendants, such that the judgment entered in the ATA Lawsuit may be
enforced against Defendants. The parties in the underlying lawsuit are currently engaged in
discovery under the supervision of the Magistrate Judge. In connection with discovery, Plaintiffs
served a subpoena on the Foundation.

        According to Plaintiffs, the Foundation was a significant supporter of IAP and AMS’s
efforts to promote and fund Hamas prior to the ATA Lawsuit judgment. Then, several years after
those organizations supposedly went out of business as a result of that judgment, Plaintiffs
contend that the ATA Lawsuit defendants re-emerged as AMP and AJP. The Foundation proved
to be a critical supporter of those new organizations. For example, the Foundation provides
funding to AMP and the Foundation has been a source of personnel committed to AMP’s mission.
The Foundation’s imam, who once provided ideological guidance to IAP, took on a similar role
with AMP. Further, Defendant Jaber was formerly the president of IAP, after becoming involved
with that organization through his work with the Foundation, and later became AMP’s tax advisor
and a prominent surrogate.

       Given the Foundation’s involvement with both the ATA Lawsuit defendants and
Defendants here, Plaintiffs served the Foundation with a subpoena with the primary goal of
discerning the identities of the Foundation’s officers and directors. Plaintiffs contend that such
information is relevant to proving that Defendants in the underlying lawsuit are alter egos of the
ATA Lawsuit defendants.




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  It is unclear why the Foundation elected to open a new civil action to challenge the subpoena rather than
filing a motion for a protective order in the underlying case, which is also pending in this District. At the
time this subpoena-related action was opened, the then-presiding district judge, who was also presiding
over the underlying action, set a briefing schedule and then referred the matter to the magistrate judge for
a report and recommendation pursuant to Federal Rule of Civil Procedure 72(b)(1). Shortly thereafter, the
originally assigned judge resigned his position, and both the underlying case and the subpoena
enforcement action were reassigned to this Court. The magistrate judge then proceeded to issue her
Report and Recommendation on September 25, 2023. As stated on the record at the status hearing on
March 27, 2024, this Court sees no reason to keep the two actions separate and finds it appropriate to
consolidate this case with the underlying case pursuant to Federal Rule of Civil Procedure 42.



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                                                III.

        Under Federal Rule of Civil Procedure 72(b), where, as here, a district court is reviewing a
magistrate judge’s recommended disposition, it “must determine de novo any part of the
magistrate judge’s disposition that has been properly objected to.” Fed. R. Civ. P. 72(b)(3). Based
on its review, the court “may accept, reject, or modify the recommended disposition; receive
further evidence; or return the matter to the magistrate judge with instructions. Id. “Being
persuaded by the magistrate judge’s reasoning, even after reviewing the case independently, is
perfectly consistent with de novo review.” Mendez v. Republic Bank, 725 F.3d 651, 661 (7th Cir.
2013).

       First, the Foundation objects to the Magistrate Judge’s recommendation that the Court
decline to quash Plaintiffs’ request for the Foundation’s meeting minutes. However, the Court
agrees with the Magistrate Judge that the meeting minutes are relevant. Plaintiffs have shown that
the Foundation provided critical funding and other resources to IAP before it became defunct and
then provided similar support to AMP when it came into existence. Thus, the Court finds that the
requested meeting minutes may provide further insight into the Foundation’s involvement with
the organizations that are alleged to be alter egos of the ATA Lawsuit defendants.

        The Court is not persuaded by the Foundation’s claim that producing its meeting minutes
would be overly burdensome. Indeed, the Foundation’s assertions of undue burden are entirely
unsubstantiated. See, e.g., Hum. Rights Def. Ctr. v. Jeffreys, No. 18 C 1136, 2022 WL 4386666, at
*3 (N.D. Ill. Sept. 22, 2022) (rejecting burden arguments where the defendants did “not offer any
specifics or even an estimate of burden involved in producing discovery”). The Foundation makes
no effort to quantify the time and cost of compiling its meeting minutes beyond a conclusory
assertion in an affidavit as to the “tremendous burden” it would face in “retriev[ing] ten years of
meeting minutes.” (The Foundation’s Reply in Supp. of Mot. to Quash, Ex. C, Jammal Aff. ¶ 9,
Dkt. No. 26-1.) Moreover, the Foundation’s claims regarding the burden of compiling its meeting
minutes rings especially hollow since its alternative proposal of requiring Plaintiffs to provide
names for the Foundation to check against its meeting minutes would necessarily entail the exact
same compilation effort. Finally, the Foundation’s speculative concern that permitting Plaintiffs’
requested discovery would dissuade community members from becoming involved in its board
can be addressed through a protective order governing the subpoena production. Indeed, a
protective order has been entered in the underlying case. To the extent that protective order is
insufficient, the Foundation may seek a supplemental order. For these reasons, the Court denies
the Foundation’s motion to quash Plaintiffs’ request for its meeting minutes.

        The Foundation’s second objection addresses the Magistrate Judge’s recommendation that
the Foundation be required to run 48 different search terms across several employee email
accounts and donor records. In particular, the Foundation claims that the Magistrate Judge’s
recommendation was improper because those search terms were not included in Plaintiffs’
subpoena. As an initial matter, the Foundation never raised this argument before the Magistrate
Judge, and “[c]ourts routinely have held that arguments not raised before a magistrate judge and
raised for the first time in the objections filed before the district judge are waived.” Ice Glass
Prints Fla., LLC v. Surprize LLC, No. 08 CV 5284, 2010 WL 1702195, at *4 (N.D. Ill. Apr. 27,
2010). In any case, the Foundation cites no legal authority suggesting that the absence of



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requested search terms in a subpoena requires denial of the discovery. To the contrary, it is
common in discovery for parties to negotiate and agree on a list of search terms to run across
sources of electronically stored information. Initially, that appears to be what happened in this
case—as the Foundation agreed to run a list of search terms only later to renege without any
further meet-and-confer efforts on the topic.

        The Court agrees with the Magistrate Judge that Plaintiffs’ proposed search terms can be
expected to yield relevant information. While the Foundation contends that search terms such as
“Hamas,” “Muslim Brotherhood,” and “Terrorism” are inflammatory and harassing, the Court
finds that those terms are directly relevant to the underlying action, which concerns Defendants’
alleged support of a designated foreign terrorist organization. Accordingly, the Court denies
Plaintiffs’ motion to quash Plaintiffs’ request that the Foundation run a list of search terms.

                                                 IV.

       For the foregoing reasons, the Court overrules the Foundation’s objections to the
Magistrate Judge’s Report and Recommendation and adopts the Report and Recommendation in
full.



Dated: March 29, 2024                                  __________________________
                                                       Andrea R. Wood
                                                       United States District Judge




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